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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 1:16-cv-24431-CMA-Altonaga/McAliley


   GOLTV, INC., and GLOBAL SPORTS
   PARTNERS LLP,

                                       Plaintiffs,

                           -v.-

   FOX SPORTS LATIN AMERICA, LTD., PAN
   AMERICAN SPORTS ENTERPRISES
   COMPANY, d/b/a FOX SPORTS LATIN
   AMERICA (individually and as successor to FOX
   PAN AMERICAN SPORTS LLC), FOX
   INTERNATIONAL CHANNELS (US), INC.,
   FOX NETWORKS GROUP, LLC. (as successor
   to FOX INTERNATIONAL CHANNELS (US),
   INC.), CARLOS MARTINEZ, HERNAN LOPEZ,
   JAMES GANLEY, T&T SPORTS MARKETING
   LTD., TORNEOS Y COMPETENCIAS, S.A.,
   ALEJANDRO BURZACO, EUGENIO
   FIGUEREDO, and JUAN ANGEL NAPOUT,

                                       Defendants.


                                    JOINT STATUS REPORT

         Pursuant to the Court’s Order of August 2, 2018 [ECF 451], the parties submit this report

  advising the Court of the status of the government’s related criminal investigation.

         The government has advised the parties that: “The status [of the investigation] remains

  the same.” Previously, the government advised: “[O]ur investigation remains ongoing, and the

  concerns EDNY raised in connection with discovery disputes pending at the time the stay was

  implemented have not been alleviated.”




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                                            Respectfully submitted,



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                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 3, 2019, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

  this day on all counsel of record via transmission of Notices of Electronic Filing generated by

  CM/ECF.

                                                              /s/ Jay B. Shapiro
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